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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,           )                        JUDGMENT OF ACQUITTAL
                                    )
                                    )
                                    )                        1:07-CR-156 LJO
                  vs.               )
                                    )
PORCHA NEAL,                        )
____________________________________)



         The defendant having been found not guilty as to the charges by a jury verdict,

         Judgment of Acquittal is hereby entered.


IT IS SO ORDERED.

Dated:      January 3, 2010                      /s/ Lawrence J. O'Neill
b9ed48                                       UNITED STATES DISTRICT JUDGE
